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IN THE UNITED STATES DISTRICT CO§RT ,
NORTHERN DISTRIC'I` OF '.I'EXAS z bag gm
FORT WORTH D§VISION

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SUSAN S. BRICKER,

 

Plaintiff,

VS. NO. 4:15-CV-202-A

GREAT AMERICAN LIFE INSURANCE
COMPANY,

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Defendant.

FINAL JUDGMENT
Consistent with the document titled "Stipulation of
Dismissal with Prejudice,” filed by plaintiff, Susan Bricker, and
defendant, Great American Life Insurance Company, on June 8,

2015,

The court ORDERS, ADJUDGES, and DECREES that all claims and
causes of action asserted in the above-captioned action by
plaintiff against defendant, be, and are hereby, dismissed with
prejudice.

The court further ORDERS, ADJUDGES, and DECREES that each

party to this action is to bear the costs of court and attorney's

   
 

fees incurred by such party.
/

SIGNED June 8, 2015. _
."",/
/ J

J a McBRY§E 'n‘ w
“ ted States Distr`ct Judge

 

